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CaSe 1213-CV-01366-PL|\/| ECF NO. 497 filed 04/26/18 Page|D.7537 Page 1 Of 2

UNITED STATES DISTRICT COURT

WESTERN DISTRICT OF MICHIGAN

 

HLV, LLC, a Michigan limited liability
company, HON. PAUL L. MALONEY
No. l3-cv-l366
Plaintiff,
_vs_

Gary Stewart Jr., an individual.

Def`endant.

 

JURY VERDICT

 

l. Has HLV shown that it was deprived of its property without due process of law as
a result of a conspiracy between Stewart and Hamre or between Stewart, Page,
and Harnrei’

YES _ NO _
If your answer to Quesn'on 1 rs “no, ” do notL answer any other quesnbns.

If your answer to Questl'on 1 is “yes, ” you must award nominal damages in dze
amount of$1.00. Go on to Quesn`on 2.

2. Has HLV shown that Delendant St.ewart’s conduct was motivated by evil motive
or intent, or that it reflected reckless or callous indifference to Plaintill’s due

/

process rights?
YFS _ NO

L" your answer to Quesn'on 213 “no, ” do not answer any other questions

If your answer to Qucstz`on 213 ‘fyes, ”go on to Quesn'on 3.

CaSe 1213-CV-01366-PL|\/| ECF NO. 497 filed 04/26/18 Page|D.7538 Page 2 Of 2

3. Should punitive damages be awarded against Defendant Stewart?

YES NO_

F your answer to Quesn'on 3 rs “no, ” do not answer any other questions
If your answer to Quesn'on 313 “yes, ”go on to Question 4.

11~. Il` your answer to Question 3 is “yes,” state the amount of punitive damages to be
awarded against Defendant Stewart:

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Once you are finished widr this section, your deliberations are over and the jury foreperson
should sign this form at the bottom and inform the Court that jury deliberations are over.

Signed,

]ury Foreperson Date

